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          Exhibit 1
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From:            Herrmann, Karl (ATR)
To:              Schmidtlein, John; Smurzynski, Kenneth; Greenblum, Benjamin; Connor, Colette; Maier, Gloria; Safty, Graham;
                 Ryan, Thomas; screighton@wsgr.com; frubinstein@wsgr.com; wwaszmer@wsgr.com;
                 Mark.Popofsky@ropesgray.com; Matthew.McGinnis@ropesgray.com; Yeager, Christopher
Cc:              Goldstein, Jeremy (ATR); Dintzer, Kenneth (ATR); Severt, Adam T (ATR); Hammond, Matthew (ATR); Bellshaw,
                 Meagan (ATR); Jensen, Elizabeth (ATR); Gray, Sara (ATR); Aguilar, Diana (ATR); Jon Sallet; William Cavanaugh;
                 Steve Kaufmann; Katherine Wright; McLellan, Michael (ATR); McKinley, Matt; Conrad, Joseph
Subject:         US v. Google - Wilcox
Date:            Wednesday, August 16, 2023 11:23:21 AM


Counsel,

Consistent with the summary judgment order, Plaintiffs will not argue at trial that Google’s AFA and
ACCs represent independent bases for liability. Professor Wilcox’s opinions relate solely to the AFA
and ACC. Please confirm by August 18 that Google intends to withdraw his opinions and not call him
at trial, considering the court’s order.

Additionally, Plaintiffs provide notice of their intent to withdraw opinion 5 from the expert report of
Michael Davies. To the extent Professor Wilcox would testify to rebut that opinion, Mr. Davies will
not be making it at trial.

Best,


Karl Herrmann
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